                                                                                        ---~..,
            Case: 1:20-cr-00190-SRC Doc. #: 49 Filed: 07/20/21 Page: 1 of 8 PageID #: 138
                                                                                                                               JUL 2 0 2021
                                          UNITED STATES DISTRICT COURT
                                                                                                                             U. S. DISTRICT CO
                                                   EASTERN DISTRICT OF MISSOURI                                                           8f
                                                                                                                           EASTERN DISTRICT
                                                                                                                              CAPE GIRARDEAU MO
                                                                                                                                               T

 UNITED STATES OF AMERICA                                                    §      JUDGMENT IN A CRIMINAL CASE
                                                                             §
 v.                                                                          §
                                                                             §      Case Number: 1:20'."CR-00190-SRC(l)
 JAMES P. MOORE                                                              §      USM Number: 21448-509
                                                                             §      Daniel T. Moore
                                                                             §      Defendant's Attorney

THE DEFENDANT:
                                                                    One (1) and two (2) of the Superseding Indictment on April 19,
 IZI   pleaded guilty to count(s)
                                                                    2021
       pleaded guilty to count(s) before a U.S. Magistrate
 •     Jud_ge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 •     accepted by the court
 •     was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:

 Title & Section/ Nature of Offense                                                                        Offense Ended

 I 8:922(g)(I) and 18:924(a)(2)                      Felon In Possession Of A Firearm                      04/02/2018              lrs
 I 8:922(g)(I) and I 8:924(a)(2)                     Felon In Possession Of A Firearm                      12/09/2020              2rs




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 D     The defendant has been found not guilty on count(s)
 D     Count(s)       D is         D   are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                                                                                              J,

                                                                      July 20, 2021
                                                                      Date of Imposition of Judgment




                                                                                 ~=
                                                                      Signature of Judge

                                                                      STEPHEN R. CLARK
                                                                                                --~<~
                                                                      UNITED STATES DISTRICT JUDGE
                                                                                                 ------
                                                                      Name and Title of Judge

                                                                      Julv~.2021______~ - - - - - - ____
                                                                      Date
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DEFENDANT:                 JAMES P. MOORE
CASE NUMBER:               1:20-CR-00 190-SRC( I)

                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

41 months on each of counts 1 and 2, to be served concurrently. This sentence shall run consecutive to any sentence imposed in
Circuit Court, Williamson County, Illinois under Docket No. l 9-CF-724 and Circuit Court, Ripley County, Missouri under
Docket Number 20RI-CR00338.

          IZI   The court makes the following recommendations to the Bureau of Prisons:
        While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in the
        Residential Drug Abuse Program. It is also recommended the defendant be evaluated for participation in an
        Occupational/Educational program, specifically, in construction trades. The Court also recommends that defendant be placed
        in an institution close to the Chicago, Illinois area or the Cape Girardeau, Missouri area as possible. Such recommendations
        are made to the extent they are consistent w_ith the Bureau of Prisons policies.



 IZI   The defendant is remanded to the custody of the United States Marshal.
 D     The defendant shall surrender to the United States Marshal for this district:


          D     at                                  •       a.m.      •     p.m.       on

          0     as notified by the United States Marshal.

 D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.




                                   MARSHALS RETURN MADE ON SEPARATE PAGE
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DEFENDANT:                 JAMES P. MOORE
CASE NUMBER:               1:20-CR-00 190-SRC( 1)

                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years on each of counts 1 and
2, such terms to run concurrently with each other.



                                            MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            •    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if-applicable)
 4.   •     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            ofrestitution. (check if applicable)
 5.   1ZJ   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   •     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   •     You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  JAMES P. MOORE
CASE NUMBER:                1:20-CR-00190-SRC(l)

                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
I I. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscomts.gov.

 Defendant's Signature                                                                             Date
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DEFENDANT:                 JAMES P. MOORE
CASE NUMBER:               1:20-CR-00 190-SRC( 1)

                                  SPECIAL CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply
with the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall
pay those costs based on a co-payment fee established by the probation office.

You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct or
tamper with the testing methods.

You must participate in a substance abuse treatment program and follow the rules and regulations of that program which may include
inpatient treatment at the discretion and/or direction of the probation officer. The probation officer will supervise your participation in
the program (provider, location, modality, duration, intensity, etc.).

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer. You
must warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may
conduct a search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and that
the areas to be searched contain evidence of this violation.
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DEFENDANT:                   JAMES P. MOORE
CASE NUMBER:                 1:20-CR-00 190-SRC( l)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must a the total criminal moneta
                     Assessment                                                    Fine        AVAA Assessment*            JVT A Assessment**
 TOTALS                 $200.00                                                    $.00

  D    The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (A0245C) will be entered
       after such determination.
  D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
          § 3664(i), all nonfederal victims must be paid before the United States is paid.




 D     Restitution amount ordered pursuant to plea agreement$
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to I 8 U.S.C. § 3612(t). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to I 8 U.S.C. § 3612(g).
 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the          D fine                             D restitution
        D    the interest requirement for the                    D    fine                            D      restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                     JAMES P. MOORE
CASE NUMBER:                   l :20-CR-00 190-SRC( l)

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      1ZJ   Lump sum payments of$ 200.00 due immediately, balance due

        D     not later than                                      , or

        IZJ   in accordance                •      C,          •          D,      D      E,or         1ZJ    F below; or

 B      D     Payment to begin immediately (may be combined with                 •      C,           •      D,or               •       F below); or

 C      D     Payment in equal _ _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ {e.g., 30 or 60 days) after the date of this judgment;
              or

 D      D     Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      D     Payment during the term of supervised release will commence within _ _ _ _ _ _ (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
              time; or

 F      IZI   Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of$200.00 for Counts lrs and
              2rs, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D      Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        D Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution o,bligation.
 D      The defendant shall pay the cost of prosecution.
 D      The defendant shall pay the following court cost(s):
 IZI    The defendant shall forfeit the defendant's interest in the following property to the United States:
        All items seized in connection with the investigation and prosecution of this case, excluding U.S. Currency.


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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DEFENDANT:            JAMES P. MOORE
CASE NUMBER:          1:20-CR-00 190-SRC( 1)
USM Number:           21448-509


                                  UNITED STATES MARSHAL
                           RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:

Date defendant was delivered with certified copy of this judgment:_ _ _ _ _ _ __


Name and location of facility: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



•   Defendant was sentenced to Time Served and was released on:
                                                              ---------
D Defendant was sentenced to _ _ _ months/years of Probation and was released on: _ _ _ _ _ _ __

•   Defendant was sentenced to _ _ _ months/years of Supervised Release and was released on: _ _ _ __




NAME OF US MARSHAL/WARDEN




By: NAME OF DEPUTY US MARSHAL/CSO
